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             Exhibit 36
REDACTED VERSION OF DOCUMENT SOUGHT TO BE FILED UNDER SEAL
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8                                  UNITED STATES DISTRICT COURT
9
                                 NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
10
                                                 MDL NO. 2843
11   IN RE: FACEBOOK, INC. CONSUMER
     PRIVACY USER PROFILE LITIGATION,            CASE NO. 3:18-MD-02843-VC-JSC
12

13                                               HON. VINCE CHHABRIA
     This document relates to:                   HON. JACQUELINE SCOTT CORLEY
14                                               COURTROOM 4 – 17TH FLOOR
     ALL ACTIONS                                 SPECIAL MASTER, DANIEL GARRIE, ESQ.
15
                                                 TENTATIVE AMENDED
16
                                                 SUPPLEMENTAL ORDER REGARDING
17                                               PRODUCTION OF ADI RELATED
                                                 DOCUMENTS
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         AMENDED SUPPLEMENTAL ORDER REGARDING PRODUCTION OF ADI RELATED DOCUMENTS
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2                                            BACKGROUND

3            1. On September 8, 2021, Judge Corley issued an order granting Plaintiffs’ motion to

4    compel the production of materials in connection with Facebook’s app developer investigation
5
     (“ADI”) that involved a review of all “apps that had access to large amounts of data before
6
     [Facebook] changed [its] platform policies in 2014.” See https://about.fb.com/news/2019/09/an-
7
     update-on-our-app-developer-investigation/.
8
             2. Pursuant to the order:
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10              In light of Facebook’s unchallenged public proclamations as to the business purpose
                of the ADI, the Court finds that the ADI served a dual purpose and that, as a general
11              matter, documents generated as part of that investigation were not created because of
                litigation. On or before September 21, 2021, Facebook shall produce the background
12              and technical reports, audits and developer interviews of the six exemplar apps
                chosen by the parties as Facebook has offered no special reasons why those particular
13              documents are privileged other than what has been addressed. The parties shall work
                with the Special Master regarding production of additional materials consistent with
14
                the guidance offered by this Order. See Order Granting Motion to Compel ADI
15              Materials.

16           3. According to Judge Corley’s order, Facebook produced 11 documents related to the ADI.

17   Following this production, Plaintiffs raised multiple issues in connection with Facebook’s ADI
18
     production and requested “all memoranda prepared by                     and/or                     related
19
     to ADI of all apps it investigated or investigated at Facebook’s direction, the background and
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     technical reports, audits, and developer interviews, and internal Facebook communications regarding
21
     these materials (including those pertaining to the six exemplar apps).” See Plaintiffs’ Email of
22

23   September 24, 2021.

24           4. The parties subsequently met and conferred regarding Facebook’s ADI production, but

25   were unable to resolve the outstanding issues.
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2            5. On October 26, 2021, Special Master Garrie issued Order Regarding Outstanding ADI

3    Issues which ordered the parties to provide summaries of the outstanding ADI issues and the parties’

4    respective positions.
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             6. On October 22, 2021, Plaintiffs submitted their initial statement. Plaintiffs argue that
6
     pursuant to Judge Corley’s order, Facebook should produce the following in connection with the
7
     ADI: (1) all memoranda prepared by                    or                 ; (2) all background reports,
8
     technical reports, audits, and developer interviews; (3) all internal Facebook communications
9

10   relating to items 1 and 2; (4) all communications with                  or                  related to

11   items 1 and 2; and (5) all communications with third-party app developers. See Plaintiffs’ Statement
12   Concerning ADI Issues in Advance of Hearing. Plaintiffs also argued that Facebook’s production of
13
     11 reports relating to the six exemplar apps pursuant to Judge Corley’s order was incomplete
14
     because Facebook’s privilege logs include references to additional reports relating to these apps that
15
     were not provided. Id.
16

17
             7. On October 22, 2021, Facebook submitted its initial statement. Facebook argues, among

18   other things, that (1) Facebook produced all documents ordered by Judge Corley; and (2) the five

19   categories of ADI-related documents Plaintiffs request go beyond the scope of Judge Corley’s order.
20
     See Facebook’s Supplemental Submission Re: ADI.
21
             8. On November 4, 2021, Plaintiffs submitted their response. Plaintiffs argue, among other
22
     things that (1) Facebook should produce additional reports regarding the six exemplar apps because
23
     additional reports were identified in Facebook’s privilege logs; and (2) Facebook failed to show how
24

25   the five categories of ADI-related documents Plaintiffs request are not “consistent with the guidance

26   offered by” Judge Corley’s order. See Plaintiffs’ Response Re: ADI.

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     AMENDED SUPPLEMENTAL ORDER REGARDING PRODUCTION OF ADI RELATED DOCUMENTS
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2            9. On November 4, 2021, Facebook submitted its response. Facebook argues, among other

3    things that (1) Facebook’s production pursuant to Judge Corley’s order is complete; (2) Plaintiffs’

4    requests for all reports and memoranda for all apps or developers investigated in phases two or three
5
     of the ADI and beyond the scope of Judge Corley’s order; and (3) there is no basis for Plaintiffs to
6
     request ADI related communications because Judge Corley previously reviewed these
7
     communications in camera and did not order the production of such communications. See
8
     Facebook’s Response Re: ADI.
9

10           10.        A hearing was held on December 4, 2021, regarding the parties’ submissions and

11   other information related to the ADI issues.
12           11.        On December 8, 2021, Special Master Garrie issued an Order Regarding the
13
     Production of ADI Documents.
14
             12.        On December 15, 2021, Facebook submitted a Motion for Reconsideration of
15
     Special Master’s Order Regarding the Production of ADI Documents.
16

17
             13.        On December 22, 2021, Special Master Garrie issued an Amended Order

18   Regarding the Production of ADI Documents which required Facebook to provide to Special Master

19   Garrie for in camera review, all ADI related communications pertaining to the six exemplar
20
     applications.
21
             14.        Facebook subsequently provided to Special Master Garrie over 6,000 documents
22
     comprising the ADI related communications pertaining to the six exemplar applications.
23
             15.        On January 10, 2022, Special Master Garrie issued a Supplemental Order
24

25   Regarding the Production of ADI Documents.

26           16.        On January 20, 2022, Facebook submitted a Motion for Reconsideration of

27   Supplemental Order Regarding the Production of ADI Documents.
28

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     AMENDED SUPPLEMENTAL ORDER REGARDING PRODUCTION OF ADI RELATED DOCUMENTS
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2                                                         FINDINGS

3                  17.         Special Master Garrie finds that, pursuant to Judge Corley’s Order Granting

4        Motion to Compel ADI Materials, documents prepared in connection with the ADI are not protected
5        from discovery as attorney work product because the documents served a business purpose separate from
6
         litigation. See Order Granting Motion to Compel ADI Materials, at 5 (“In light of Facebook’s own
7
         statements, the Court finds that Facebook would have conducted the ADI in substantially the same form
8
         even in the absence of potential litigation; that is, that Facebook did not initiate the ADI because of the
9
         prospect of litigation. See Phoenix Techs. Ltd. v. VMware, Inc., 195 F. Supp. 3d 1096, 1105 (N.D. Cal.
10
         2016) (holding that dual purpose documents were not protected work product because they served a
11

12       business purpose independent of litigation).”)

13                 18.         Accordingly, all ADI related documents, including communications where

14   attorneys were listed as copied (i.e. cc’d) are discoverable except for ADI related documents created for
15
     the primary purpose of obtaining legal advice from attorneys. See United States v. Chevron Texaco
16
     Corp., 241 F. Supp. 2d 1065, 1076 (N.D. Cal. 2002) (“The mere fact that outside counsel was copied
17
     with the email will not shield communications not made for the purpose of securing legal advice.”).
18
                   19.         After reviewing a substantial portion of the 6,000+ documents pertaining to the
19

20       six exemplar apps that Facebook provided, Special Master Garrie finds that a substantial number of

21       the documents are relevant to the case and not protected by privilege. See e.g. FB-ADI-

22       INCAMERA-0000000098.msg; FB-ADI-INCAMERA-0000000005.msg; FB-ADI-INCAMERA-
23
         0000000084.msg; FB-ADI-INCAMERA-0000000854.pptx; FB-ADI-INCAMERA-
24
         0000000262.pdf; FB-ADI-INCAMERA-0000000126.xlsx.1
25

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     1
      These files are referenced by the file names provided in Facebook’s submission of the 6,000+ communications and related
28   documents pertaining to the six exemplar apps.
                                            4
          AMENDED SUPPLEMENTAL ORDER REGARDING PRODUCTION OF ADI RELATED DOCUMENTS
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2                                                 ORDER

3            20.        Facebook is to produce all documents relating to the ADI from all custodians that

4    the parties have identified and collected, subject to the following conditions:
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                   a. Facebook does not need to produce, review, or log for privilege any emails in which
6
                    Facebook or Gibson Dunn attorneys are listed in the FROM fields of the email
7
                    header.
8
                   b.Facebook does not need to produce, review, or log for privilege any emails in which
9

10                  Facebook and Gibson Dunn attorneys are the exclusive individuals listed in the TO

11                  fields of the email header.
12                 c. Facebook is to review all others emails in which Gibson Dunn or Facebook attorneys
13
                    are listed in the CC or BCC fields of the email header, produce such emails that relate
14
                    to the ADI, and log such emails for which Facebook asserts privilege pursuant to the
15
                    Privilege Protocol.
16

17
             21.        Any subsequent motions regarding the production of ADI related documents are

18   to be brought before Judge Corley.

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        IT IS SO ORDERED.

22

23      January 20, 2022                               ______________________________
                                                       Daniel Garrie
24
                                                       Discovery Special Master
25

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                                       5
     AMENDED SUPPLEMENTAL ORDER REGARDING PRODUCTION OF ADI RELATED DOCUMENTS
